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                      IN THE UNITED STATES DISTRICT COURT
                   FOR THE WESTERN DISTRICT OF PENNSYLVANIA
                                  PITTSBURGH

KENNETH J. KONIAS JR.,                               )
                                                     )
               Plaintiff,                            )              2:19-CV-01550-CRE
                                                     )
        vs.                                          )
                                                     )
DAVID DRUSKIN, PA-C; KRISTINA                        )
TANNER, MICHAEL HERBIK, DOCTOR;                      )
                                                     )
MARK ROMEASE, NEDRA GREGO-                           )
RICE, CHCA; MARK V. CAPOZZA,                         )
CORRECT CARE SOLUTIONS, MEDICAL                      )
PROVIDER; JOHN E. WETZEL, KIM                        )
BILLOW, DORINA VARNER, CHIEF                         )
GRIEVANCE ADMINISTRATOR;                             )
PENNSYLVANIA DEPARTMENT OF                           )
                                                     )
CORRECTIONS, BOB MARSH, DOCTOR;                      )
AND ALL MEDICAL STAFF @ SCI                          )
FAYETTE WORKING THE NIGHT SHIFT                      )
ON NOVEMBER 24, 25, 26, 2017,                        )
                                                     )
               Defendants,                           )

                                             ORDER

       AND NOW, this 28th day of September, 2021, upon consideration of the following:

       (1)    A motion to dismiss for failure to state a claim under Fed. R. Civ. P. 12(b)(6)
       by Kim Billow, Mark V. Capozza, Nedra Greco-Rice, Bob Marsh, Pennsylvania
       Department of Corrections, Mark Romease, Kristina Tanner, Dorina Varner and
       John E. Wetzel (collectively “Corrections Defendants”) (ECF No. 45);

       (2)   A motion to dismiss for failure to state a claim under Fed. R. Civ. P. 12(b)(6)
       by Correct Care Solutions, David Druskin and Michael Herbik (collectively
       “Medical Defendants”) (ECF No. 48); and

       (3)    A motion to strike certificate of merit by Medical Defendants (ECF No. 50),


       IT IS HEREBY ORDERED that Corrections Defendants’ motion to dismiss (ECF No. 45)

is granted in its entirety, Medical Defendants’ motion to dismiss (ECF No. 48) is granted in part

and denied in part and Medical Defendants’ motion to strike certificate of merit (ECF No 50) is


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denied without prejudice. The following claims remain: (1) An Eighth Amendment deliberate

indifference claim under § 1983 against Dr. Herbik, PA Druskin and the John Doe Defendants;

and (2) a state law negligence claim against Dr. Herbik, PA Druskin and the John Doe Defendants.

       Remaining Defendants shall file an Answer by October 12, 2021.




                                                           By the Court:

                                                           s/ Cynthia Reed Eddy
                                                           Cynthia Reed Eddy
                                                           Chief United States Magistrate Judge




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